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JAN
F.#2002R01303

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - X

UNITED STATES OF AMERICA

      -against-                                02 CR 589 (S-2) (RJD)

JEFFREY A. ROYER,

                  Defendant.

- - - - - - - - - - - - - - - - X




                  GOVERNMENT’S SENTENCING MEMORANDUM




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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - X

UNITED STATES OF AMERICA

      -against-                                02 CR 589 (S-1) (RJD)

JEFFREY A. ROYER,

                  Defendant.

- - - - - - - - - - - - - - - - X


                          PRELIMINARY STATEMENT

             This defendant was an FBI Special Agent from November

1996 until December 2001, sworn to uphold the law.            For a period

encompassing almost the last two years of his employment, he

routinely breached his sworn oath by providing confidential law

enforcement information to co-conspirators, including Amr I.

Elgindy, whom he knew would use that information to trade

securities and manipulate their prices.          The defendant was

willing to betray his oath because he wanted the money he

understood his co-conspirators could offer him.

             Before he left the FBI to work for Elgindy in December

2001, the defendant provided to these same co-conspirators stolen

information concerning an investigation about 9/11, a betrayal

perhaps even more shocking than those he had previously

committed.    He compounded his conduct by coopting a colleague and

girlfriend, Lynn Wingate, to continue to provide confidential law

enforcement after the defendant began working for Elgindy.             He

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also procured confidential information from another colleague,

Michael Mitchell, who believed, based on the defendant’s false

representations, that the defendant was working in an official

government capacity.      Following his arrest, the defendant

tampered with Mitchell, relating to Mitchell the false statements

the defendant had made to his arresting officers in the hope that

Mitchell would repeat them.

            Finally, when the defendant testified during trial, he

lied, denying that he had any idea that the information he

provided Elgindy and others was being used to trade securities.

Indeed, the defendant refused to accept that he had “provided”

any information at all, a rationalization that he believed

allowed him to lie to FBI agents who asked him before he left the

FBI in December 2001 whether he had provided confidential

information to Elgindy.       Instead, he claimed he had “shared” it

with the sole aim of obtaining in exchange useful information for

investigations in which he had no role.

            The defendant, as he concedes himself, has engaged in

egregious misconduct.      The government believes that this Court

should therefore impose a very significant sentence consistent

with the nature and extent of this defendant’s crimes.

           I.   THE NATURE AND CIRCUMSTANCES OF THE OFFENSE

A.    Introduction to The Securities Fraud Conspiracy

            Derrick Cleveland met the defendant - an FBI agent then

working in Oklahoma City - in early 2000 when the defendant

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appeared at Cleveland’s office.        (Tr. 172).1    Shortly after that

initial encounter, the defendant appeared again and Cleveland

showed him Amr I. Elgindy’s AnthonyPacific website (the “AP

site”), (Tr. 174), whose primary purpose was to recommend

shorting certain stocks.       (Tr. 191).

             Shortly thereafter, the defendant provided confidential

law enforcement information to Cleveland regarding Broadband

Wireless (“BBAN”).      (Tr. 214; GX-JL-1).      Cleveland immediately

conveyed the information to Elgindy, who traded on it.            (GX-

2582).    Cleveland told Elgindy that he learned the information

from an FBI agent, a fact which Elgindy was quick to verify.

(Tr. 219).     Elgindy, satisfied as to the source of the

information, urged Cleveland to get more specific confidential

law enforcement information from the defendant.           (Tr. 221).

             Shortly after the defendant provided Cleveland and

Elgindy stolen information on BBAN, the defendant provided

Cleveland additional misappropriated information about other

companies.    (Tr. 226).    Cleveland suggested to the defendant that

they could make a lot of money trading in these and other

companies’ stocks based on the purloined information, and that

they could give the information to Elgindy so that, through

Elgindy’s website, they could “crush” the stocks.            (Tr. 228).

             From June 2000 through September 2000, while Elgindy

      1
          Transcript references are to the electronic transcript,
which varies at certain points from the hard-copy transcript.

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was in jail, the defendant continued to provide confidential law

enforcement information to Cleveland.         Once Elgindy was released

from jail in early October 2000, Cleveland started feeding

Elgindy confidential law enforcement information, initially on

Seaview Underwater Research, Inc. (“SEVU”), obtained from the

defendant.    (Tr. 266-67).

             After the SEVU insider trading, the defendant continued

to provide confidential law enforcement information to Cleveland

and Elgindy.    In late 2000, Elgindy asked to speak, and did

speak, with the defendant directly.         (Tr. 323).    From that point

forward, while most information still flowed through Cleveland,

Elgindy and the defendant also communicated directly with one

another.    (Tr. 324).

             The defendant, whom Elgindy called his “personal FBI

agent,” appeared on the AP site so that the defendant could

verify to AP site members that the information they received did

indeed originate with the FBI.        (Tr. 441; 450).     In addition to

placing the defendant’s confidential law enforcement information

on the AP site and encouraging AP site members to trade on the

information, Elgindy and the defendant actively worked to pry

information from SEC personnel.        (Tr. 329).

             In all, the defendant provided Cleveland and Elgindy,

and, by extension, numerous AP site members and others,

confidential law enforcement information with respect to more

than fifty companies.      (Tr. 489).     With respect to FBI computer

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searches alone, between March 30, 2000 (BBAN) and March 4, 2002

(IMCL), the defendant and Lynn Wingate misappropriated and passed

confidential law enforcement information on dozens of companies

and individuals.2

B.    Tony Elgindy’s Personal FBI Agent

            While Elgindy’s AP site may originally have had some

legitimate purpose, Elgindy stated in chat that the defendant’s

FBI information was “what the site is all about.           Fidelity and

bravery and insider selling.”        (Tr. 584).    The AP site’s shift

was made possible by the defendant’s continued willingness to

provide confidential law enforcement information to Elgindy.

Both the defendant and Elgindy actively cultivated this mutual

relationship.     In February 2001, Elgindy invited the defendant

and Cleveland to Elgindy’s house in San Diego.           (Tr. 552).    While


      2
          The defendant passed confidential law enforcement
information to Cleveland, Elgindy and others concerning the
following stocks: Seaview (“SEVU); Freedom Surf (“FRSH”) (Tr.
495); SoftQuad (“SXML”) (Tr. 508); BioPulse (“BIOP”) (Tr. 529);
GenesisIntermedia (“GENI”) (Tr. 538, 3874); Optimum Source
(“OSIN”) (Tr. 579); Polymedica (“PLMD”) (Tr. 595); Hercules
(“HDBG”); Junum (“JUNM”) (Tr. 629, 3859); Global Asset Holdings
(“GAHI”) (Tr. 637); Flor Decor (“FLOR”) (Tr. 735); Trident
(“TDNT”) (Tr. 762); TTR Technologies (“TTRE”) (Tr. 3870); Real
Time Cars (“RTCI”) (Tr. 783, 3863); Hypermedia (“NMNW”) (Tr.
788); Vital Living (“VLPI”) (Tr. 814); Eagle Building (“EGBT”)
(Tr. 3873); Nuclear Solutions (“NSOL”); BGI Industries (“BGII”)
(Tr. 906, 2542); Medi-Hut (“MHUT”); and (“IVSO”) (Tr. 917);
(“BYTE”) (Tr. 516); Jaguar (“JGUR”) (Tr. 646); Sulphco (“SLPH”).
(Tr. 656-58, 672); and Broadband Wireless (“BBAN”). By reviewing
FBI records, Special Agent Jack Liao was able to confirm that the
defendant misappropriated confidential law enforcement
information for at least 37 stocks, including all of the stocks
mentioned in this footnote. (GX-JL-1).

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there, the defendant told Elgindy how FBI investigations worked

(Tr. 560); Elgindy told the defendant how much money he had made

from certain information provided by the defendant (Tr. 561);

Elgindy offered employment to the defendant, and the defendant

accepted (Tr. 568-69); and the defendant asked whether Elgindy

could loan him money.      (Tr. 569).     On May 23, 2001, Elgindy told

the AP site that Elgindy was hiring a “current FBI agent” to act

as an investigator.      (Tr. 621; GX-3311 Elgindy stated, “I’m

hiring another FBI Agent . . . he’ll have to leave the FBI at the

time. . . . . I’ve put a very lucrative deal in front of him”).

On June 27, 2000, the defendant, e-mailing Elgindy about the

defendant’s prospective job, wrote, “i want to make a million

dollars a year . . . if you want to make 20 million, then i will

make 2.”    (GX-2222).

            In fact, it’s clear that the defendant essentially

worked for the defendant well before he left the FBI at the end

of December 2001.     For example, on July 12, 2001, the defendant

stated in an e-mail to Elgindy, “Laughed my ass off at GAHI

today.   What a shit company.       Take care of Derrick on this one.

He got some good info in my opinion.         Solomon Grey could

potentially keep us in business for a long time.           Meanwhile, we

can drive them crazy by driving their dick in the dirt on all

their turd deals.”      (GX-2093).

            In the Summer of 2001, Elgindy organized a trip to Las

Vegas with various AP site members and the defendant joined them

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and stayed with Elgindy in his hotel room.          (Tr. 616).    Among

other things, during the trip the defendant provided Elgindy with

confidential law enforcement information concerning JUNM and

further discussed with Elgindy the defendant’s employment.             (Tr.

617, 620).    As part of the Las Vegas festivities, Elgindy and

several AP site members were photographed with the defendant’s

business card plastered to their foreheads.          (Tr. 617).     Also

during the Summer of 2001, and later, Elgindy and Cleveland

discussed the defendant’s ability to continue obtaining

confidential law enforcement information after he left the FBI

through the defendant’s girlfriend, Lynn Wingate, and another law

enforcement officer.3      (Tr. 800, 803).

             The defendant was so deeply involved in his

relationship with Elgindy that the defendant wrote a letter to

Elgindy’s probation officer, recommending early probation-

termination.    (Tr. 812).     In that letter, the defendant falsely

claimed he was still an FBI agent.         (Tr. 812).    As is clear from

discussions about this letter, the defendant allowed Elgindy to


      3
          After the defendant left the FBI to begin working with
Elgindy in December 2001, the defendant asked Wingate to access
confidential law enforcement information and provide it to him.
On March 4, 2002, Wingate ran a computer search on the name “Sam
Waksal,” Imclone’s chief executive. Wingate then told the
defendant that there was an active investigation into Imclone and
that Cathy Farmer, an FBI agent, was assigned to the case. On
the following day, Elgindy wrote on the AP site that “I cannot
say what on IMCL [Imclone] is, just that I would never be long at
this point.” On April 23, 2002, Wingate ran searches on Webtel
and her own name.

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use the defendant’s position as an FBI agent in any way that

would curry Elgindy’s favor.        Thus, on August 14, 2001, after

Elgindy told the defendant that Elgindy would “need a letter

saying how valuable I am to the U.S. government . . . .”              (GX-

2104), the defendant replied,

             Can I start with something like Tony is so
             cool he shits ice cubes or Tony is as
             valuable to the U.S. Government as two-ply is
             to toilet paper. Both of these statements
             are true to the best of my knowledge. I know
             I have to write a recommendation for you, but
             when, where and how. It would be great if I
             didn't have to due to some flunky finding out
             about it later and holding it against us, but
             whatever works, I know you don't want me to
             leave the bureau before it is written, all I
             want to know is if that will be in October,
             April or next October. (GX-2104).

             Finally, in January 2002, in what was a culmination of

months of planning, the defendant, together with Cleveland,

officially started working in Elgindy’s office in San Diego.

(Tr. 837).

C.    The Defendant’s Obstruction of Justice

      1.     Obstruction of Ongoing Investigations

             The defendant understood that he was routinely

committing crimes with Elgindy, Cleveland and others.            He

therefore had a strong incentive to use the means available to

him to determine whether his co-conspirators were under FBI

investigation.     On several occasions prior to September 2001, the

defendant, following inquiries by Cleveland and Elgindy, searched

the FBI’s computer databases for any such investigations, and

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passed the negative results on to Elgindy.           (Tr. 483-84, 775).

            In September 2001, the defendant told Cleveland that

Elgindy was under investigation for a serious matter independent

of securities fraud.       (Tr. 805).      The defendant and Cleveland

spoke about the matter many times, both before and after the

defendant left the FBI in December 2001, during which

conversations the defendant mentioned details of the

investigation.4     (Tr. 806, 946).        Based on Elgindy’s preparations

to flee the United States, lies he told his probation officer and

statements he made to law enforcement officers, it is clear that

at least some of the information passed from the defendant to

Cleveland reached Elgindy.

            It was at this point that the defendant agreed to write

a letter to the District Court Judge in the Northern District of

Texas recommending Elgindy for early supervised release

termination.     (Tr. 3487; GX-3738).        In the undated letter,

submitted to the court on January 11, 2002, the defendant claimed

to write in his “capacity as a Special Agent with the Federal

Bureau of Investigation,” despite the fact that he had left the

FBI the prior December and was employed by the defendant, a fact

conveniently omitted.5

      4
          The defendant also told Michael Mitchell, a Gallup, New
Mexico police officer, that Elgindy was being investigated in
connection with terrorism. (Tr. 3129).
      5
          That the defendant passed on information about the
investigation to Elgindy is supported by an e-mail the defendant

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            On April 18, 2002, at the defendant’s request, Wingate

ran the defendant’s and Elgindy’s names in the FBI computer

database.    As confirmed by notes seized from Wingate at the time

of her arrest, she then passed various pieces of information

gleaned from that search to the defendant, most notably names

associated with the FBI’s investigation into Elgindy, an

investigation that - at the time - had both securities and

terrorism components.       Based on the information Wingate gathered

at the defendant’s behest, the defendant and Cleveland took steps

to distance themselves from Elgindy.

            2.    Perjury

            Fully exercising his right to testify, the defendant

spent several days on the stand during trial.           The essence of the

defendant’s testimony was that he “shared” confidential law

enforcement information with Elgindy,6 Cleveland and others,



wrote to Elgindy on February 7, 2002, in which the defendant
stated “[w]e definitely need some breathing room . . . I need to
get a feel for what the bureau is doing in regard to this whole
ordeal. We are so close, no need to screw things up.” (GX-
2499). In that same e-mail, the defendant told Elgindy, “Get
some good facetime with Derrick as he has lots on his mind.”
(GX-2499). As Cleveland testified, what was primarily on his
mind in February 2002 was the FBI’s investigation into Elgindy.
      6
          In an obvious effort to conceal this “sharing”
activity, the defendant told FBI Special Agent Raymond Gonzalez
prior to the defendant’s departure from the FBI that he never
gave confidential information to Elgindy. (Tr. 6879). The
defendant considered this answer truthful because, despite having
no authorization to do so, he “shared” with Elgindy and others
information for what he claimed was a legitimate law enforcement
purpose. (Tr. 6873).

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despite having no authorization to do so, solely in an effort to

generate investigative information in return.7           When asked on

cross-examination about the possibility that anyone might make

money by trading on that information, the defendant testified

that “I’m telling you the information I provided to get

information was not given to trade on nor did I have any idea who

was trading, when they were trading or why they were trading.”8

(Tr. 6868).     The defendant made that statement, and many similar

statements, despite acknowledging that he knew at the time that

Elgindy and Cleveland were short-sellers, that Elgindy ran a

short-selling website, and that the confidential information



      7
          Among other pieces of information, the defendant
provided Cleveland information about the FBI’s 9/11 trading
investigation. (Tr. 6894). As with the confidential information
regarding other investigations, the defendant testified
incredibly that he provided this extremely sensitive information
about an investigation in which he had no involvement in order to
obtain information from Cleveland about Elgindy. (Tr. 6895-96).
      8
          Although this perjured testimony could serve as the
basis for an enhancement for obstruction of justice, see
Guidelines Manual (2001), §3C1.1, the Amended Presentence
Investigation Report, dated July 25, 2006 (“Amended PSR”), has
already applied such an enhancement based on the defendant’s
provision of stolen information regarding an ongoing
investigation. See Amended PSR, ¶ 113. Such an enhancement for
perjury is warranted where a defendant “1) willfully 2) and
materially 3) committed perjury, which is (a) the intentional (b)
giving of false testimony (c) as to a material matter.” See
United States v. Ben-Shimon, 249 F.3d 98, 102 (2nd Cir. 2001)
(quoting United States v. Zagari, 111 F.3d 307, 329 (2nd Cir.
1997)). This statement was made for “the purpose of obstructing
justice” and was “material to the proceeding in which it [was]
given.” See Id. While a guidelines enhancement may be
unavailable for this conduct, it should be taken into account in
sentencing this defendant. See infra, Section II(C).

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provided by the defendant appeared on that site.            (Tr. 6866).

Indeed, the defendant himself, at least on occasion, visited the

site in order to verify the source of the stolen information.

Additionally, the defendant gave Cleveland money to trade on the

defendant’s behalf, while at the same time providing Cleveland

confidential law enforcement information that Cleveland could and

did use in his trading activity.

            Consistent with the jury’s verdict, it was clear from

the evidence presented at trial that the defendant testified

falsely about his knowledge of the use to which the information

he stole was put and was intended to be put.

D.    The Defendant’s Witness Tampering

            After leaving the FBI, the defendant obtained

confidential law enforcement information from Michael Mitchell, a

Gallup, New Mexico police officer, under the false pretense of

continuing to perform official duties.          (Tr. 3132).

Specifically, the defendant, on various occasions over the course

of months, asked Mitchell to run a number of names and license

plate numbers through confidential law enforcement databases and

to provide the results to the defendant.          (Tr. 3134-3140).      In

fact, despite the defendant’s implications that the defendant

required this information for official government purposes, the

defendant wanted the information in furtherance of the

defendant’s employment with Elgindy.

            Following his arrest, the defendant told Mitchell that

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he had falsely told the arresting agents that he had asked

Mitchell to perform only one search.          (Tr. 3146).    In the context

of discussing the possibility that FBI agents might interview

Mitchell, the defendant reiterated to Mitchell several times that

the defendant had told the FBI that he had requested only one

search.    (Tr. 3147).     Mitchell understood that the defendant was

asking Mitchell to “outright lie to the FBI” about the matter.

(Tr. 3148).

                     II.   THE SENTENCING GUIDELINES

            A defendant’s sentence under the United States

Sentencing Guidelines (the “Guidelines”) is to be determined

based on “relevant conduct.”        “Relevant conduct,” as defined in

Section 1B1.3 of the Guidelines, means:

      all acts and omissions committed, aided, abetted,
      counseled, commanded, induced, procured, or willfully
      caused by the defendant; and

      in the case of a jointly undertaken criminal activity
      (a plan, scheme, endeavor, or other enterprise
      undertaken by the defendant in concert with others,
      whether or not charged as a conspiracy), all reasonably
      foreseeable acts and omissions of others in furtherance
      of the jointly undertaken criminal activity.

            The defendant here stands convicted of being a member

of a racketeering conspiracy and of a securities fraud conspiracy

spanning the period March 2000 through April 2002.            As detailed

above, that conspiracy involved the defendant’s procurement and

unlawful dissemination of an enormous volume of misappropriated,

confidential law enforcement information.          While the defendant


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may not have been aware of all the uses to which the information

was put, it is fundamental to both the “relevant conduct”

standard cited above and the law of conspiracy that a conspirator

may be held responsible for the acts of his co-conspirators,

whether or not he was aware of, or caused, each of those acts.

Any claim that the defendant did not foresee that others would

trade on or disseminate misappropriated information is unfounded.

The defendant clearly understood that the information he provided

was being used by Elgindy, Cleveland and others for their own

profit.    Indeed, the defendant appeared on the AP site to tout

the information he provided.        Whether or not the defendant

himself actually saw a significant profit from the purloined

information, he wholly understood the manner in which this

information - information which he was solely responsible for

obtaining - was being used.

            This Court has already determined, in the course of a

lengthy and rigorously-briefed sentencing proceeding involving

Elgindy, that the relevant “loss” figure in this case is

$1,568,008.93.     See Amended PSR, ¶ 108.       That represents the gain

that the various co-conspirators realized in trading on the

information provided by the defendant.          As the government has

repeatedly argued, that figure is generous, in that it includes

only the trades of a limited number of people for a highly-

circumscribed period after they came into possession of the

defendant’s misappropriated information.          Clearly, many others

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whose trading gains are excluded from that figure realized

insider trading gains using that same information.            Moreover, the

Court did not include in its calculation of the enterprise’s

gains site fees generated by the AP site, despite the fact that

subscribers were paying largely for access to the misappropriated

information.

            That the defendant himself did not directly profit from

trading on the misappropriated information is irrelevant to

determining a loss amount in this case.          As the defendant himself

recognizes, (Def. Sentencing Ltr., p.2), a co-conspirator may be

held responsible for the conduct of his colleagues, and that is

no more appropriate than in this case where there would have been

no illegal trading profits whatsoever had not the defendant

decided to breach his duty to the FBI.

            Further, while the defendant may not have seen a profit

directly from the unlawful trading, he saw what he conceived of

as an immense benefit in the employment he procured with Elgindy.

The defendant believed that this employment promised far more

than a middle-class income.        Whether that belief was reasonable

or not, given the character of the defendant’s prospective

employer, it certainly accounts for the defendant’s conduct.

            While the defendant suggests that his conduct was

motivated by an undefined something other than greed, (Def.

Sentencing Ltr., p. 5), the record is replete with references to

the defendant’s desire for money.          In addition to Elgindy’s

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promised employment, the defendant gave Cleveland $15,000, a

considerable sum to the insolvent defendant, to trade on the

defendant’s behalf.      (Tr. 6974-87).     Although the defendant

denied it during his trial testimony, he obviously understood

that Cleveland was going to use those funds to try and generate a

profit based, at least in part, on the misappropriated

information the defendant provided.         While Cleveland may not have

succeeded in earning a profit for the defendant, that says

nothing about the defendant’s motivation in providing Cleveland

money and information on which to trade.          That this was the

defendant’s motivating principle was also demonstrated by his

willingness to sell confidential information unlawfully taken

from the FBI to the Dateline television show for $600,000.              (Tr.

965).

A.      Guidelines Calculation for Securities Fraud Charges

             Consistent with this Court’s prior rulings and the

Amended PSR, the government submits that Racketeering Acts 1

through 7 and Counts 2 through 6 should be considered together.

(PSR, ¶ 104).     See Guidelines Manual (2001), § 3D1.2(d).          As

noted above, the “relevant conduct” associated with these charges

for sentencing purposes includes acts counseled, aided or caused

by the defendant, and all reasonably foreseeable acts in

furtherance of jointly undertaken activity.           The Guidelines

Manual states that the “court must first determine the scope of

the criminal activity the particular defendant agreed to jointly

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undertake.”     See Guidelines Manual (2001), 1B1.3, Application

Note 2.    Here, the defendant was convicted of being a member of

the Elgindy Enterprise, whose members, from March 2000 through

May 2002, conspired to profit from insider trading, manipulation

and extortion.     While Elgindy may have been the enterprise’s

leader, the defendant provided the information that fueled the

enterprise and made it possible.

            Based on these facts, the government agrees with the

guidelines calculation associated with the securities conspiracy

provided in the Amended PSR, see PSR ¶¶ 107 - 114, which yield an

offense level of 28.

B.    Guidelines Calculation for Extortion Counts

            The defendant argues that the Amended PSR mistakenly

calculates a guidelines range for extortion, despite the fact

that the defendant was not specifically convicted of that crime.

The defendant, however, was convicted of a racketeering

conspiracy, one means of which was extortion.           The sentencing

guidelines provide that, in cases involving racketeering, the

relevant base offense levels are those “applicable to the

underlying racketeering activity.”         See Guidelines Manual (2001)

§2E1.1(a)(2).     The particular racketeering acts need not be found

beyond a reasonable doubt, however.         See United States v.

Ruggiero, 100 F.3d 284, 289-91 (2nd Cir. 1996) (in RICO case,

finding racketeering acts by preponderance of the evidence and

applying separate guidelines calculations to those acts).             See

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also United States v. Hurley, 374 F.3d 38, 39 (1st Cir. 2004)

(citing United States v. Carrozza, 4 F.3d 70, 74-83 (1st Cir.

1993)) (reference in §2E1.1(a)(2) to “underlying racketeering

activity” “could properly encompass relevant conduct for which a

defendant has not been convicted”).         Instead, if those acts

constitute “relevant conduct,” proved by a preponderance of the

evidence, they may be included for guidelines calculation

purposes.    See Ruggiero, 100 F.3d at 290-91.

            While the defendant was not convicted of extortion

conspiracy or extortionate acts, his co-conspirators used the

misappropriated information supplied by the defendant in making

their extortionate demands with respect to both Nuclear Solution

and Flor Decor.9     In particular, Elgindy posted misappropriated

information on his AP site, then threatened further dissemination

unless his extortionate demands were met.          Given the use to which

the defendant knew his information was put in furtherance of his

co-conspirators trading schemes, this particular use was

certainly reasonably foreseeable to the defendant.            See

Guidelines Manual (2001), §1B1.3.          Thus, the defendant should be

held responsible for his co-conspirators’ extortionate conduct

regardless of the extent of his own direct participation.


      9
          For a detailed review of the evidence regarding the
Nuclear Solutions and Flor Decor extortions, the government
respectfully refers the Court to the Government’s Sentencing
Memorandum, pp. 20-23 and 65-59, submitted in connection with
this Court’s sentencing of Amr I. Elgindy.

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                Therefore, as detailed in the Amended PSR, ¶¶ 115-128,

144, 146 and 148, the defendant should be subjected to an

additional offense level for the extortion conduct, leaving him

at offense level 29.

C.      Departures

        1.      Disruption of Governmental Function10

                The above guidelines calculation results in a

significant sentence, yet it takes little account of the very

essence of the defendant’s crime.          The defendant used his

privileged position as an FBI agent to access confidential law

enforcement information on hundreds of occasions for personal

gain.        Certain of the investigations the defendant compromised

involved undercover agents and cooperating witnesses.             When the

defendant left the FBI to work with Elgindy - lured by the

prospect of millions of dollars - the defendant shamefully

coopted his girlfriend, Lynn Wingate, to continue supplying

misappropriated information.

                The defendant allowed various individuals, including

Elgindy, to have their photographs taken in Las Vegas with his

card stuck to their foreheads.        The defendant falsely claimed he

        10
          The sentencing guidelines provide another upward
departure rationale based on the facts set forth in this section.
See Guidelines Manual (2001), §2B1.1, Application Note 15
(“Departure Considerations”). An upward departure may be
warranted if the offense “caused or risked substantial non-
monetary harm”). Id. (citing as an example of such harm, “theft
of personal information, such as medical, educational or
financial records”).

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was a current FBI agent in a letter to the court in Texas so that

Elgindy, in the midst of committing additional crimes with the

defendant, could terminate his supervised release on his Texas

conviction early.      The defendant compounded his crimes by

attempting to influence the testimony of a law enforcement

colleague who had come together with the defendant during the

tragic loss of a mutual friend and fellow officer.

            Perhaps most significantly, the defendant tapped into

the FBI computer to find information about an extremely serious

and sensitive investigation and passed on at least some of what

he learned to Cleveland and Elgindy.

            In sum, the defendant was willingly converted by the

promise of money from an agent of the FBI into an agent of the

Elgindy Enterprise.      The true nature of the criminal conduct here

would justify a sentence above the guidelines, either as an

upward departure under Section 5K2.7 or as a variance under T.

18, U.S.C., § 3553(a).       See also Guidelines Manual (2001), §

2C1.1 (Bribing Public Officials), Application Note 5 (“where the

court finds that the defendant’s conduct was part of a systematic

or pervasive corruption of a governmental function, process or

office that may cause loss of public confidence in government, an

upward departure may be warranted” under § 5K2.7).

      2.    Perjury and Witness Tampering

            The application of the guidelines to this case produces

no guidelines enhancement for either the defendant’s witness

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tampering or his perjured trial testimony, the former because the

guidelines produce an offense level too low to add grouping-

related offense levels and the latter because the obstruction of

justice enhancement already applies.

            As to the witness tampering, however, the guidelines do

provide that a sentence in the upper end of the guidelines range

or an upward departure may be warranted where grouping produces a

result such that a particular group of offenses is excluded from

the ultimate calculation.       See Guidelines Manual (2001), §3D1.4

(“Background”) (where one group of crimes produces a

substantially higher guidelines range than another, “the court

will have latitude to impose added punishment by sentencing the

defendant toward the upper end of the range” or by a “departure

from the guidelines”).

            As to the perjured testimony, it would clearly support

an obstruction of justice enhancement.11         See Guidelines Manual

(2001), §3C1.1, Application Note 2 (“In applying this provision

in respect to alleged false testimony or statements by the

defendant, the court should be cognizant that inaccurate

testimony or statements sometimes may result from confusion,

mistake, or faulty memory and, thus, not all inaccurate testimony

or statements necessarily reflect a wishful attempt to obstruct

justice.”).     Here, the defendant’s perjured testimony resulted


      11
            See supra, fn. 8 and accompanying text.

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from no confusion, mistake or faulty memory.           It was an obvious

and willful attempt to recast facts to create a wholly false

image of his conduct.

             This additional conduct, otherwise excluded in the

defendant’s guidelines calculation, justifies either a sentence

at the high end of the applicable guidelines range or an upward

departure.

       3.    Susceptibility to Abuse in Prison

             The defendant cites as a reason for leniency the

“likelihood” that, due to his status as a former FBI agent, the

Bureau of Prisons will have to take special care in protecting

him.    (Def. Sentencing Ltr., p.4).       As this Court noted in the

Wingate sentencing proceeding, it is on its face unjust to give a

corrupt law enforcement agent special treatment.            See also Koon

v. United States, 518 U.S. 81, 116 (1996) (Souter, J., concurring

in part, dissenting in part) (“To allow a departure on this basis

is to reason, in effect, that the more serious the crime, and the

more widespread its consequent publicity and condemnation, the

less one should be punished; the more egregious the act, the less

culpable the offender.”).         Moreover, the cases in which such

treatment has been afforded generally have involved notorious

crimes in which police officers have physically brutalized their

victims.    In particular, in the Rodney King and Abner Louima

cases, the defendants were granted modest departures based, in


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part, on their susceptibility to abuse in prison.            See Koon, 518

U.S. at 112 (citing “widespread publicity and emotional outrage”

in upholding a 3-level departure based, in part, on

susceptibility and abuse); United States v. Volpe, 78 F.Supp.2d

76, 89 (E.D.N.Y. 1999) (publicity attendant with Abner Louima

case “coupled with the defendant’s status as a police officer are

sufficient to support” a 2-level departure).

            Here, however, the defendant was involved in securities

fraud and related crimes and, while his case has received some

publicity, he is hardly notorious.         He has offered no evidence

that he will be abused in prison, and offered only the fact that

he was placed in a Special Housing Unit for a limited period

while on pre-trial detention to suggest that his treatment

conditions will be harsher than those faced by other prisoner.

(Def. Sentencing Ltr., p.4, fn. 2).         Certainly not all police

officers who commit crimes should be afforded special treatment.

The defendant has simply offered no evidence that his situation

is sufficiently similar to the highly unusual Rodney King or

Abner Louima cases such that he should be afforded even a modest

departure on the grounds of susceptibility to abuse in prison.

                  III.   CERTAIN OTHER 3553(a) FACTORS

A.    Section 3553(a)(2)(A) - Seriousness of the Offense

            This case involved a massive criminal enterprise

dedicated to misappropriating information from the FBI, trading


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on that information, using it to manipulate stock prices and

disseminating it to hundreds of investors who could further use

it for their unjust advantage.        The defendant not only

participated as a necessary part of this enterprise, he breached

his sworn oath as an FBI agent in doing so.           Moreover, he

provided law enforcement information about a sensitive

investigation involving 9/11 to Cleveland and Elgindy, in itself

an extraordinary act of betrayal.          Finally, he tampered with a

witness, lied to law enforcement officials and lied on the stand

at trial.    Even his own adjective - egregious (Def. Sentencing

Ltr., p. 5) - is insufficient to describe the seriousness of this

defendant’s conduct.

B.    Section 3553(a)(2)(B) - Deterrence

            Sentencing this defendant to a significant period of

incarceration will, hopefully, serve as a deterrent to those

individuals who would breach their sworn duty to the public in

favor of the promise of financial reward.

C.    Section 3553(a)(6) - Avoiding Sentencing Disparity

            1.    Jonathan Daws

            The defendant argues that, because Jonathan Daws’s

sentence was based on profits Daws earned in just two stocks, the

defendant should not be held liable for the trading profits

earned by his co-conspirators.        The full text of Section

3553(a)(6) reads: a sentencing court shall consider “the need to


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avoid unwarranted sentence disparities among defendants with

similar records who have been found guilty of similar conduct.”

First, this is just one of many factors that this Court must

consider.    Second, Daws’s role in this offense was far more

circumscribed than was the defendant’s.          While Daws played an

active role in soliciting confidential information with respect

to two stocks, the defendant procured, or induced the

procurement, of all the confidential law enforcement information

at issue in this case.

            2.    Disparity in Amount of Loss Tables

            As the defendant references, the Second Circuit has

recently reiterated that sentencing courts are not free to

rewrite guidelines with which they disagree.           See United States

v. Castillo, 2006 WL 2374281, *15 (2nd Cir., Aug. 16, 2006).

While recognizing this principle, the defendant nonetheless

argues that the loss table for financial crimes produces unjust

results because those who commit crimes involving vast sums of

money do no receive exponentially larger sentences than those who

commit crimes involving smaller sums.          (Def. Sentencing Ltr., p.

3).

            To the extent that this argument suggests that those

who commit crimes involving vast sums such as the $350,000,000

referenced by the defendant should be punished more harshly than

is provided by the guidelines, it is difficult to see how such an


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argument benefits the defendant.           Moreover, as the defendant

suggests, the guidelines provide that a sentencing court may, in

limited circumstances, deviate from the guidelines if they

“substantially overstate the seriousness of the offense.”             See

Guidelines Manual (2001), §2B1.1, Application Note 15 (“Downward

Departure Consideration”).        Finally, the intuitive propriety of

the relative sentences in monetary cases is well-illustrated by

the defendant’s own example.        (Def. Sentencing Ltr., p. 3).

While it is intuitively reasonable to sentence someone who has

stolen $250,000 to 27 months imprisonment, it is certainly not

intuitively reasonable to sentence someone who has stolen

$350,000,000, or 1,400 times as much, to 37,800 months

imprisonment.

            Putting aside abstruse logic, the bottom line in this

case is that the guidelines, if anything, understate the

seriousness of the defendant’s crime.




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                                 CONCLUSION

            The defendant engaged in a long-term criminal

enterprise in which he routinely breached his sworn oath to the

FBI to serve Elgindy and his greed.         The government believes that

this Court should therefore impose a very significant sentence

consistent with the nature and extent of this defendant’s crimes.


                                           Respectfully submitted,
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